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                                  17047



                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ,
  MARCUS MARTIN, NATALIE ROMERO,
  CHELSEA ALVARADO, THOMAS BAKER
  and JOHN DOE,
                        Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES       Civil Action No. 3:17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSLEY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                         Defendants.

      [PROPOSED] ORDER SEALING CERTAIN EXHIBITS TO PLAINTIFFS’
    SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
    MOTION FOR SANCTIONS AGAINST DEFENDANT MATTHEW HEIMBACH
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                                  17048



          WHEREAS, on August 12, 2021, Plaintiffs filed a Supplemental Memorandum of Law in

 Support of Plaintiffs’ Motion For Sanctions Against Defendant Matthew Heimbach (the

 “Supplemental Memorandum”), ECF 1005, and did not publicly file an unredacted version of

 Exhibit 1, Exhibit 6, and Exhibit 17 in accordance with Defendants’ position that such Exhibits

 contain Confidential or Highly Confidential information pursuant to the Order for the Production

 of Documents and Exchange of Confidential Information on January 3, 2018, ECF 167.

          WHEREAS, the Plaintiffs have provided unredacted copies of those exhibits to the Court

 and moved, pursuant to Local Rule 9, for those exhibits to be sealed.

          IT IS HEREBY ORDERED, that an unredacted version of Exhibit 1, Exhibit 6 and Exhibit

 17 to Plaintiffs’ Supplemental Memorandum, ECF 1005, are hereby sealed pursuant to Local Rule

 9.



 Dated:


 SO ORDERED


                                                                   Hon. Joel C. Hoppe, M.J.




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